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                   IN THE
              United States Court of Appeals
                FOR THE SECOND CIRCUIT

                  UNITED STATES OF AMERICA,

                                          Appellee,
                                    v.


                          BRANDEN DAVIS,

                                         Defendant - Appellant.


 APPEAL FROM THE UNITED STATES DISTRICT COURT
     FOR THE WESTERN DISTRICT OF NEW YORK


        BRIEF FOR DEFENDANT-APPELLANT
                BRANDEN DAVIS

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Jurisdictional Statement

              Appellant Branden L. Davis was charged in a criminal

    complaint on September 15, 2020 with a single firearm possession

    count, which triggered the subject matter jurisdiction of the United

    States District Court for the Western District of New York pursuant

    to 18 U.S.C. § 3231. A 2.1

        Mr. Davis waived indictment and pleaded guilty on March 1,

    2021. He was sentenced on July 7, 2021. A 8-10, 26, 37-38, 87.

    Judgment was entered on July 9, 2021. A 93-99. A timely notice of

    appeal was filed on July 21, 2021. A 100. This Court enjoys

    jurisdiction pursuant to 28 U.S.C. § 1291 and 18 U.S.C. § 3742(a).



Issues

     1. Was the sentence procedurally unreasonable, as the District

Court failed to adequately explain its reasons pursuant to 18 U.S.C.




1
 Materials in the Joint Appendix will be cited as “A __ .” The April 27,
2021 presentence investigation report (filed contemporaneously under
seal) will be cited as “PSR __ .” The July 8, 2021 Statement of Reasons
form (also filed contemporaneously under seal) will be cited as “SOR _.”
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§3553(c)(2) for dramatically increasing Mr. Davis’s expected sentence,

as the court predominantly relied on the anecdotal local media reports

of third parties committing crimes as a basis to more than double the

prison term beyond the agreed-upon maximum Guidelines range?

  2. In a case where no injuries occurred, was the sentence

substantively unreasonable, as the District Court failed to afford the 18

U.S.C. § 3553(a) factors their due consideration, but instead more than

doubled Mr. Davis’s expected maximum prison term so the court could

send a message regarding recent purported gun violence in the City of

Rochester?



Procedural History and Background

     Mr. Davis was charged in the Western District of New York in a

one-count information, alleging he was a felon-in-possession of a

firearm, having been previously convicted of an offense punishable by a

term of more than a year. See, 18 U.S.C. §§ 922(g)(1), 924(a)(2); A 30-

31, 37-38. It was alleged that on August 6, 2020, Mr. Davis exited his

vehicle at the beginning of a traffic stop, ran from the Rochester Police

and discarded a loaded firearm during the pursuit. The police promptly


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recovered the weapon, which was not used in furtherance of another

crime. There were no injuries. A 28-20, 77; PSR at pp. 5-6.

        Mr. Davis waived indictment and pleaded guilty on March 1,

    2021, to the lone count in the information. A 26-27, 36-40. The

    written plea agreement included an appeal waiver provision

    encompassing any prison sentence not exceeding twenty-four (24)

    months. A 35-36, 43. 2

        At Mr. Davis’s July 7, 2021 sentencing, the District Court stated

    this:

             With a total offense level of 12 and a criminal
             history category III, the sentencing range under
             the guidelines is 15 to 21 months. Now, the
             Court did not enhance this matter based upon
             the reckless endangerment. Based upon the facts
             of this case, I don’t believe that two level
             enhancement applied. However, I do believe that
             the sentencing range in this particular case, 15
             to 21 months, is not adequate to address the
             seriousness of the offense here or your criminal
             history.

             And also I think deterrence is now probably even
             stronger than it was in the past. You can’t pick

2See, A 15, 17-18 (plea agreement, ¶¶ 12(b) and 20); see also, A 89-90
(where both the government and the court agreed at the close of
sentencing that Mr. Davis retained the right to appeal his sentence).


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           up the newspaper or turn on the TV in this
           community without somebody running around
           with a gun and shooting somebody. And the word
           has to get out there that if you decide to be in the
           city with a loaded gun and run around the city,
           there’s consequences to that and there’s serious
           consequences to that. This is probably very bad
           timing for you. I agree with your attorney that
           this occurred probably prior to this spike in
           violence in the city, but I think we have to be
           very, very serious and send a very clear message
           that it’s not going to be tolerated. The guns on
           the street, carrying loaded weapons on the street
           cannot be tolerated. So this sentence and your
           particular fact situation has to also be a
           deterrent to you and to the community that this
           is not going to be tolerated. Based upon that it’s
           the sentence of the Court that the defendant…
           be sentenced to 48 months to the Bureau of
           Prisons…

A 86-87 (emphasis added); see also, A 82-85.

     As can be seen above, despite the government unsuccessfully

 seeking a two-level enhancement under U.S.S.G. §3C1.2 for reckless

 endangerment during flight, A 64-69, 86, Mr. Davis was sentenced to

 forty-eight (48) months in prison - - more than doubling the maximum

 term contemplated in the plea agreement. A 15, 87, 94. He was also

 sentenced to three (3) years of supervised release. A 87-88.




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Summary of Argument

     Defendants should be punished based on their own culpable

conduct, receiving a sentence that is sufficient but no greater than

necessary to achieve the goals of 18 U.S.C. § 3553(a)(2).

     Mr. Davis’s sentence was procedurally unreasonable, as the

District Court failed to adequately explain its sentence pursuant to 18

U.S.C. § 3553(c). Rather, the court’s reasons for more than doubling the

maximum term permitted under the plea agreement focused on

fleeting references to purported news accounts of rising local gun

violence committed by nameless third parties well after the offense

conduct.

     Further, the sentence was also substantively unreasonable, as

the District Court failed to afford the 18 U.S.C. § 3553(a) factors their

due consideration. Instead, Mr. Davis’s sentence was drastically

increased above the contemplated Guidelines and plea agreement

range, as the District Court seemed to be merely reacting to purported

news accounts of recent gun violence in Rochester.




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Argument


     I.     The sentence was both procedurally and
            substantively unreasonable, as the District Court
            more than doubled the maximum prison term
            contemplated in the plea agreement, primarily
            relying on vague reports of local gun violence
            committed by third parties subsequent to the offense
            conduct.


     The District Court more than doubled Mr. Davis’s sentence based

on the purported conduct of others. The court’s reasoning is gravely

undercut by its recognition of there being insufficient evidence to

support a sentencing enhancement for reckless endangerment during

Mr. Davis’s flight from the police. Indeed, the District Court afforded

disproportionate weight to media reports of local violence occurring

subsequent to the offense conduct, at the expense of pertinent 18

U.S.C. § 3553(1) factors.


     A. Standards of Review

     Though the Guidelines are only advisory, United States v. Booker,

543 U.S. 220, 226-227 (2005), District Courts are still required to

properly calculate and consider the Guidelines range. In keeping with

the parsimony clause mandate of 18 U.S.C. § 3553(a) to impose a


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sentence that is sufficient but no greater than necessary, a sentencing

court must give the Guidelines fair and reasonable consideration, United

States v. Jones, 531 F.3d 163, 170 (2nd Cir. 2008); accord, United States

v. Milne, 771 Fed. Appx. 32, 34-35 (2d Cir. 2019), as the Guidelines are

“a starting point and an initial benchmark” for imposing a reasonable

sentence. See, Gall v. United States, 552 U.S. 38, 49-51 (2007); Rita v.

United States, 551 U.S. 338, 347-351 (2007).

     Appellate review of reasonableness involves two steps: first, the

Court must determine whether the sentencing judge committed any

procedural errors; and second, the Court must assess whether the

length of the sentence is substantively reasonable under the totality of

the circumstances. United States v. Cavera, 550 F.3d 180, 189 (2d Cir.

2008) (en banc); Jones, 531 F.3d at 170, citing Gall, 552 U.S. at 50-51

(other citations omitted). In the process, § 3553(a) factors must be

given due consideration, and the court must provide its sentencing

reasons on the record in order to facilitate a proper review. Rita, 551

U.S. at 356; United States v. Dorvee, 616 F.3d 174, 179, 182-183 (2d

Cir. 2010).




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       Procedural unreasonableness includes failing to provide an

adequate explanation for a sentencing decision. Cavera, 550 F.3d at

190.

       Appellate review of sentencing decisions, even those outside the

Guidelines range, is conducted under a “deferential abuse of discretion

standard.” Cavera, 550 F.3d at 189. But while District Courts have

broad discretion at sentencing, it is not unlimited. United States v.

Mumuni, 946 F.3d 97, 106 (2d Cir. 2019). Indeed, there is no

presumption of reasonableness in a sentence, even if it falls within a

Guidelines range. Cavera, 550 F.3d at 189. This standard encompasses

a District Court’s determination for an upward departure. See, e.g.,

United States v. Fuller, 426 F.3d 556, 562 (2d Cir. 2005).

       Substantive reasonableness is judged in light of the factors listed

in 18 U.S.C. § 3553(a). See generally, United States v. Park, 758 F.3d

193, 200 (2d Cir. 2014) (further recognizing that substantive

unreasonableness may include a District Court’s clearly erroneous

assessment of the evidence); United States v. Ceasar, 10 F.4th 66, 79 (2d

Cir. 2021) (recognizing “[r]eview for “substantive reasonableness . . .

requires that [this Court] consider only whether the length of the


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sentence is reasonable in light of the § 3553(a) factors” (internal

citation omitted)). This Court’s duty “is not to identify the ‘right’

sentence but, giving due deference to the district court’s exercise of

judgment, to determine whether the sentence imposed falls within the

broad range that can be considered reasonable under the totality of the

circumstances.” Jones, 531 F.3d at 174; see also, Gall, 552 U.S. at 51.

     This Court has recognized a substantively unreasonable sentence

as including: “(1) … a sentence [that] lacks a proper basis in the record,

(2) … a trial judge’s assessment of the evidence leave[ing] the

reviewing court with a definite and firm conviction that a mistake has

been committed, or (3) [where] the reviewing court… reache[s] the

informed judgment that a sentence is otherwise unsupportable as a

matter of law.” Park, 758 F.3d at 200-201; Cavera, 550 F.3d at 204

(citation omitted); United States v. Valente, 915 F.3d 916, 921 (2d Cir.

2019).




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     B. The sentence was procedurally unreasonable as the
        District Court failed to adequately explain its reasons for
        imposing a prison term far-exceeding the agreed upon
        maximum Guidelines range


     The District Court failed to adequately explain the reasons for its

drastic increase in prison time.

     Under 18 U.S.C. § 3553(c), a sentencing court “shall state in open

court the reasons for its imposition of the particular sentence…”

Further, if the sentence is outside the Guidelines range, the court must

provide “the specific reason for the imposition of a sentence different

from that described, which reasons must also be stated with specificity

in a statement of reasons form…” 18 U.S.C. § 3553(c)(2); see again,

Cavera, 550 F.3d at 190 (recognizing that “a district court errs if it fails

adequately to explain its chosen sentence, and must include “an

explanation for any deviation from the Guidelines range””).

     As this Court has long recognized:

           District judges are, … generally free to impose
           sentences outside the recommended range. When
           they do so, however, they “must consider the
           extent of the deviation and ensure that the
           justification is sufficiently compelling to support
           the degree of the variance.” … In this way, the
           district court reaches an informed and
           individualized judgment in each case as to what
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           is “sufficient, but not greater than necessary” to
           fulfill the purposes of sentencing. 18 U.S.C. §
           3553(a).

Cavera, 50 F.3d at 189 (emphasis added); see also id. at 193 (“A district

judge imposing a non-Guidelines sentence… should say why she is

doing so, bearing in mind, once again, that “a major departure [from

the Guidelines] should be supported by a more significant justification

than a minor one”), citing Gall, 552 U.S. at 50-52.

     The surface reasons for the District Court imposing such a drastic

increase in Mr. Davis’s sentence included the seriousness of his offense,

his criminal history and the purported uptick in local gun violence

(committed by others). A 86. However, none of these reasons are

adequately explained at sentencing. To begin with, the court spends no

time substantively analyzing why either the present offense or Mr.

Davis’s history moved the court so forcefully in this direction. A 86. For

instance, while the court describes the unspecified amount of

marijuana and sandwich baggies found in the discarded bag as “just as

concerning” as his possessing a weapon, A 84, no charges were ever

filed regarding these items, none of which were even referenced in the

six-page affidavit in support of the September 15, 2020 Complaint. See,


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United States v. Davis, WDNY Dock. No. 6:21-cr-06002, Dkt. 1, at ¶¶ 4

and 6.

     Moreover, the quick reference to local gun violence doesn’t even

approach an objective and verifiable basis. Despite media accounts of

local crime being notoriously unreliable, the District Court’s reasoning

in its SOR form was simply that it “found this sentence was sufficient

but not greater than necessary to comply with the purposes of

sentencing.” This hardly provides an adequate explanation for more

than doubling an expected sentence where no extenuating

circumstances are apparent in the record.




     C. The sentence was substantively unreasonable as the
        District Court more than doubled the agreed upon
        maximum term predominantly based on vague
        references to local gun violence


     Substantive unreasonableness is demonstrated in our matter by

at least two components of the District Court’s approach. First, the

court disproportionately relied on anecdotal information in doubling

Mr. Davis’s expected sentence. Secondly, the court’s rejection of the

requested endangerment enhancement directly contradicted its

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ostensibly frantic public safety concerns that Mr. Davis’s conduct had

direct implications for the community at large.



     1. The purported gun violence in Rochester was
        afforded too much weight


     Though silent on this topic in its pre-sentence pleadings, A 45-51,

the government raised with the District Court the purported recent

spike in gun violence in the City of Rochester. A 76. As defense counsel

observed, however, Mr. Davis’s crime occurred more than a year before

the purported “recent spike” began. A 78. Neither the government nor

the court disputed this fact. There was further no dispute below that

this purported gun violence was carried out by other people. A 78.

     Considering circumstances occurring subsequent to the offense

conduct flies in the face of imposing a sentence that is sufficient but no

greater than necessary to achieve the otherwise legitimate goals of §

3553(a)(2). A defendant receiving a doubled prison sentence based on

the purported conduct of others - - occurring after the charged conduct -

- cannot reasonably promote respect for the law. 18 U.S.C. §

3553(a)(2)(A). Rather, it is more likely to breed mistrust and cynicism,


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as the sentence here seemed more of an emotional reaction to patently

generic events in the news.

     What’s the point of the defense and the government submitting

case-specific pleadings to carefully cultivate their positions, including

probation report objections and sentencing statements (e.g., A 45-62)

when the judge may end up picking up a newspaper on the morning of

sentencing and change the entire dynamic? In such a scenario, the

concept of a fair and individualized sentencing, confined to the

contours of 18 U.S.C. § 3553(a), has been vanquished.

     While there is “[n]o limitation… placed on the information

concerning the background, character, and conduct of a person

convicted of an offense which a court… may receive and consider for

the purpose of imposing an appropriate sentence,” 18 U.S.C. § 3661,

this Court has recognized that:

           [r]eviewing a sentence for substantive
           reasonableness requires us to “take into account
           the totality of the circumstances, including the
           extent of any variance from the Guidelines
           range.” Gall, 552 U.S. at 51. While a sentence
           outside the Guidelines range is not
           presumptively unreasonable, the district court’s
           justification for a non-Guidelines sentence must
           be “sufficiently compelling to support the degree
           of the variance.” Id. at 50. And “a major
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             departure should be supported by a more
             significant justification than a minor one.” Id.

Ceasar, 10 F.4th at 79. At bar, the District Court’s justification (that he

read about gun violence in the newspaper) was not sufficiently

compelling to support the imposed variance from the agreed-upon

Guidelines range.

        Mr. Davis’s sentence directly violated the parsimony clause. In

the context of purportedly protecting the public from Mr. Davis (under

§ 3553(a)(2)(C)), the prison term was more than doubled, based not on

the appellant’s dangerousness, but on that of others. The same goes for

the seriousness of the offense under § 3553(a)(2)(A), as “the offense”

encompasses the circumstances of this case (i.e., the events occurring

on August 6, 2020), not of other people’s cases which are vaguely and

anecdotally referenced in passing. As argued by defense counsel, the

seriousness of the offense conduct was more reasonably addressed

through the 15 to 21-month range contemplated in the plea agreement.

A 79.

        According to the District Court, deterrence was a stronger factor

because of the media accounts of local shootings. A 86. Word just had to

get out that there are consequences to carrying a gun. Id. But an
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individualized sentence requires something more. Indeed, the court

more than doubling Mr. Davis’s maximum range did nothing to further

the principal of deterrence. See, § 3553(a)(2)(B). To the contrary,

deterrence is more likely to be impacted by one’s perceived likelihood of

being caught rather than the ultimate threatened penalty to be

imposed.3

     But even if individuals were indeed motivated by a potential

harsher sentence, why conform one’s future actions to a certain mode of

behavior when you’re not being sentenced in proportion to your own

criminal conduct? Put another way, what’s the point of restraining




 3See generally, Nagin, Daniel S., “Criminal Deterrence Research at the
 Outset of the Twenty-First Century,” Crime and Justice, vol. 23,
 [University of Chicago Press, University of Chicago], 1998, pp. 1–42,
 available at: http://www.jstor.org/stable/1147539 (last accessed, Oct. 22,
 2021); see also, Paternoster, Raymond, “How Much Do We Really Know
 about Criminal Deterrence?,” 100 J. Crim. L & Criminology 765 (2010)
 (Vol. 100, Issue 3, Article 6, pp. 765-824) (observing at p. 766 that “[i]n
 spite of its central importance, and the very high expectation we have
 that legal punishment and criminal justice policies can inhibit crime,
 we do not have very solid and credible empirical evidence that
 deterrence through the imposition of criminal sanctions works very
 well”), available at:
 https://scholarlycommons.law.northwestern.edu/cgi/viewcontent.cgi?arti
 cle=7363&context=jclc (last accessed, Oct. 22, 2021).


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one’s own actions when punishment may be increased depending on

how stories of local crimes are presented in the newspaper on the

morning of sentencing? And with no objective and verifiable crime

data being relied upon by the court, the situation is made even more

unpredictable.

     Though the District Court officially referenced the § 3553(a)

sentencing goals of respect for the law, being no greater than necessary

and deterrence, A 85-86, the court affirmatively stating the local gun

violence was “bad timing” for Mr. Davis, A 86-87, wipes out all formal

statutory gestures spoken for the sake of making a record. Would the

same logic apply for a sex crime defendant if there had been a recent

increase in sex offenses in the area? The only information impacting a

defendant’s sentence should: (1) occur prior to the offense conduct so

the defendant may conform his or her own behavior accordingly, (2) be

objective and verifiable, and (3) be the result of the defendant’s own

actions, not the conduct of others.

     “Bad timing” for Mr. Davis, A 86-87, means inappropriate timing

and without notice. The District Court’s statements reveal the

arbitrariness of doubling a defendant’s sentence based on the


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purported conduct of non-litigants to the case, only referenced in news

reports. The court felt it had to send a clear message: guns on the

street would not be tolerated. A 86-87. In doing so, however, Mr.

Davis’s particular case became almost irrelevant to the court’s agenda.

     In fact, the District Court was obliged to weigh Mr. Davis’s

personal history in light of the other pertinent § 3553(a) factors.

     Rochester native Branden L. Davis was 35 years old at the time

of his plea and sentencing. A 24, 72; PSR at p. 2 and ¶ 85. Speaking on

his own behalf, Mr. Davis explained to the court that he had recently

discussed with his family how he could help young people. He

expressed remorse. His previous 70-month prison sentence, imposed

when he was 18, in fact hurt him. A 79-80. As counsel opined, Mr.

Davis’s prior incarceration likely did more harm than good. A 78-79. It

is no secret that overly harsh sentences contribute to a cycle of

incarceration, providing only limited benefits. 4



 4See generally, Stenman, Don, “The Prison Paradox: More
 Incarceration Will Not Make Us Safer,” Vera Institute of Justice,
 published July 2017, pp. 1-2 (observing that “[t]here is a very weak
 relationship between higher incarceration rates and lower crime
 rates. Although studies differ somewhat, most of the literature shows
 that between 1980 and 2000, each 10 percent increase in
 incarceration rates was associated with just a 2 to 4 percent lower
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     Branden was now a grandfather and wanted to be with his

family, including his four children. Mr. Davis’s father was convicted of

robbery when Branden was just six years of age. Accordingly, he was

raised by his grandmother, who was 92 at the time of sentencing. A 79-

80, 84; see also, PSR at ¶¶ 85-86.

     The District Court did not afford sufficient weight to Mr. Davis’s

potential for being a productive member of society. It was not disputed

below that Branden completed many rehabilitative program hours

while in prison, including OSHA Safety and computer classes. While in

custody, he also secured his GED (in 2006). See, A 78, 81; PSR at ¶ 95 5

and pp. 11-12 (noting appellant’s participation in 560 hours of in-

custody programming), 6 p. 61. Moreover, Mr. Davis’s employment



 crime rate.”), available at:
 https://www.vera.org/downloads/publications/for-the-record-prison-
 paradox_02.pdf (last accessed, Oct. 26, 2021).

 5Page 2 of the PSR inaccurately states that Mr. Davis had not
 obtained his GED.
 6The PSR revealed this programing also included health services
 training, interviewing and employment skills, typing classes,
 personal finance, as well as Internet and computing. See, PSR at pp.
 11-12. Further, during Mr. Davis’s time at the Buffalo Half Way
 House following his release from custody in 2013, he participated in
 an array of programs addressing transitional skills, employment and
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history included his working at a barbershop, as well as at a muffler

shop. His OSHA certification obtained in prison will help him pursue

roofing positions as well. A 84; PSR ¶ 97.

     At the time of sentencing, Mr. Davis was officially in state

custody awaiting an expected two-year prison sentence relative to a

recent drug conviction. A 77-78, 81-82. Mr. Davis had six prior

misdemeanors, just one triggering criminal history points. While the

District Court counted three prior felonies, these were in substance just

two criminal events. A 82-84; PSR at pp. 8-16 and ¶¶ 50-51, 55 and 60.

Moreover, between 2010 and 2019, when Mr. Davis was convicted in

state court of drug possession, his violations of the law were

predominantly driver’s license-related. PSR ¶¶ 56-60; see also, A 85.

Indeed, other than his 2004 gun possession case, Mr. Davis had no

criminal dispositions involving any sort of violence following his

misdemeanor (attempted assault) youthful offender adjudication back

when he was 16 years of age, A 77; PSR ¶¶ 48-60, an act that would




 job readiness, family and parenting, money management and
 vocational life skills. Id. at 12.


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not even be deemed criminal in New York today (committed by

someone under 18). See, N.Y. Penal Law § 30.00(1).

     In sum, the District Court failed to properly consider the “nature

and circumstances of the offense,” as well as Mr. Davis’s “history and

characteristics,” as mandated by 18 U.S.C. § 3553(a)(1). Such

information was integral for the District Court to achieve the goal of

imposing a “just punishment.” 18 U.S.C. § 3553(a)(2)(A). As this Court

has recognized:

           “Sentencing, that is to say punishment, is
           perhaps the most difficult task of a trial court
           judge.” While there are many competing
           considerations in every sentencing decision, a
           sentencing judge must have some understanding
           of “the diverse frailties of humankind.” In
           deciding what sentence will be “sufficient, but
           not greater than necessary” to further the goals
           of punishment, 18 U.S.C. § 3553(a), a sentencing
           judge must have a “generosity of spirit, that
           compassion which causes one to know what it is
           like to be in trouble and in pain.” … see
           also Edward J. Devitt, Ten Commandments for
           the New Judge, 65 A.B.A. J. 574 (1979), reprinted
           in 82 F.R.D. 209, 209 (1979) (“Be kind. If we
           judges could possess but one attribute, it should
           be a kind and understanding heart. The bench is
           no place for cruel or callous people regardless of
           their other qualities and abilities. There is no
           burden more onerous than imposing sentence in
           criminal cases.”).


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United States v. Singh, 877 F.3d 107, 121 (2d Cir. 2017) (other internal

citations omitted).



     2. The District Court’s rejection of the reckless
        endangerment enhancement undercuts its purported
        basis for doubling the expected maximum term


     The District Court’s anecdotal findings were inherently

inconsistent. Despite finding legally insufficient evidence to support a

reckless endangerment enhancement, the court indicated the expected

Guidelines range was inadequate to address the seriousness of the

offense and Mr. Davis’s history. A 86. But doubling a potential

sentencing range without at least some extenuating circumstances

raises a red flag, particularly in light of the court’s rationale in denying

the enhancement:

           I’ve had a chance to review the cases as well as
           the facts in this particular case, and I agree with
           the defense here that the two level enhancement
           should not apply. It was clearly a dangerous
           situation, but I do not believe it rises to the level
           of reckless endangerment in which a two level
           increase should apply for reckless endangerment
           during flight in this case based upon several
           factors: The fact that the gun was in a bag; was
           dropped by the defendant; was found very
           quickly by the police; this was a late evening
                                     22
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            incident in which no civilians were anywhere
            near the area which would create an extremely
            dangerous situation. I believe the Second Circuit
            has been very clear that it should pose an
            imminent and immediate threat. I do not see
            that under the facts of this case and, therefore,
            the two level enhancement will not apply.

A 68-69 (emphasis added). Indeed, the court denying the government’s

U.S.S.G. §3C1.2 proposal “based on the facts of this case,” A 86, reveals

the public faced no further danger beyond the concerns which

warranted the agreed-upon 15 to 21-month Guidelines range.

       The concept of general deterrence (under § 3553(a)(2)(B)) is a thin

reed that does not support a sentence double the recommended

Guidelines range. So too for the sentencing factor of protecting against

local gun violence (under § 3553(a)(2)(C)) which, as explained by the

District Court, cannot “bear the weight assigned it under the totality of

circumstances in the case.” Cavera, 550 F.3d at 191.

       The District Court finished up its reprimand of Mr. Davis this

way:

            Mr. Davis, I hope you go back to the jail and you
            see these young people you talked about and tell
            them there’s consequences to carrying guns in
            this community, okay? Let them learn a lesson.



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A 91 (emphasis added). But what’s the lesson here? Mr. Davis accepted

a guilty plea based on an acknowledgement of his own wrong doing, A

37-38, but then was sentenced based on other’s misconduct. How

should the young people at the jail now govern their behavior?

     Indeed, the sentence cannot be justified on this record and the

only appropriate remedy is to vacate for resentencing.



Conclusion

     This Court should vacate the judgment and remand with

instructions for the District Court to resentence Mr. Davis while

affording the 18 U.S.C. § 3553(a) factors their due weight.


     Dated:      November 12, 2021
                 Buffalo, New York

                                   Respectfully submitted,

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UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT
_______________________________

UNITED STATES OF AMERICA,                                    21-1782-cr

                  Appellee,

            v.

BRANDEN DAVIS,

     Defendant - Appellant,

                Defendant-Appellant.
- _______________________________


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